                     Case: 1:14-cv-02202 Document #: 22 Filed: 06/10/14 Page 1 of 1 PageID #:164
    U.S. Department of Justice                                                             PRocESS RECETpTAND RETuRN                                                 )\, ilfre.
                                                                                           See Instructions      for    "serttice of Process by the U.S. lrtoo"hif '          < / t|
    United States Marshals Service                                                         on the reverse of this        form.                                                J/
    PLAINTIFF
                                                                                                                              COURTCASENUMBER

    DEFENDANT
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    SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILLASSIST IN EXPEDITING
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    Telephone Numbers, and Estimated Times Available For Service):
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Signature ofAttorney or other Originator requesting service on behalfof:
                                                                                          p    ruerNurr
                                                                                          tr   DEFENDANT



I acknowledge receipt for the total                     District                         Signature ofAuthorized USMS Deputy or Clerk
number of process indicated.                            of Origin
(Sign onlyfirst USM 285 if more
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than one USM 285 is submitted)                          *" ],{                                                                                          PlA

!    I hereby certifu and return that I am unable to locate the individual, company, corporation, etc.,
                                                                                                        named   abov e (See remarks below)

Name and titlerof individual served (ifnot shovm above)
                                                                                                                                         A person of suitable age and dis-
                                                                                                                                  U      creljon then residing in the defendant's
                                                                                                                                         usual place ofabode.
Address (complete only if different than shown above)

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     Service Fee
                                                                                                            Amount owed to U.S. Marshal          or       Amount of Refund



REMARKS:

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PRIOREDITIONS
MAYBE USED                                             1.    CLERK OF THE COURT                                                             FORM USM-285 @ev. 12 I 15 I 80)
                                                                                                                                                 (Instructions Rev 12108)
